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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SADE CROCKETT,                                   )
                                                 )
               Plaintiff,                        )
                                                 )           Case No. 23-cv-14899
       v.                                        )
                                                 )           Judge April M. Perry
WKM AUTOMOTIVE, INC., d/b/a                      )
MCGRATH KIA OF HIGHLAND                          )
PARK, FIFTH THIRD BANK N.A., DAVID               )
BEKOV, TREVOR HANSEN, CITY OF                    )
HIGHLAND PARK, IL,                               )
                                                 )
               Defendants.                       )

                            MEMORANDUM OPINION AND ORDER

       The claims in this case arise out of the wrongful arrest and prosecution of Plaintiff Sade

Crockett (“Plaintiff”), an African American woman, for allegedly attempting to use a fraudulent

check to buy a car. Defendants are the car dealership from which Plaintiff sought to buy the car,

WKM Automotive, Inc., d/b/a McGrath Kia of Highland Park (“McGrath Kia”), the arresting

officers, David Bekov (“Officer Bekov”) and Trevor Hansen (“Officer Hansen”), the City of

Highland Park, and the bank which issued Plaintiff’s check, Fifth Third Bank, N.A. (“Fifth Third

Bank”). All defendants but Officer Bekov and the City of Highland Park have filed motions to

dismiss the claims against them pursuant to Federal Rule of Civil Procedure 12(b)(6). For the

reasons set forth below, the motions to dismiss are granted in part and denied in part.

                                        BACKGROUND

       The below facts are drawn from the allegations in Plaintiff’s complaint, which for the

purposes of the motions to dismiss the Court accepts as true, drawing all reasonable inferences in

Plaintiff’s favor. See Killingsworth v. HSBC Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2007).



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       On March 10, 2023, Plaintiff accompanied her cousin Enoch Graves (“Graves”) to a Fifth

Third Bank retail branch in Chicago, Illinois. The purpose of their visit was to obtain a cashier’s

check from Graves’ account to purchase Plaintiff a car for her birthday. At the bank, Plaintiff and

Graves met with bank employees and shared the purpose of their visit. The bank employees said

they could accommodate the request, and assured Plaintiff and Graves that a cashier’s check is

less susceptible to fraud than a personal check and that the check would clear. Plaintiff, Graves,

and the bank employees then called McGrath Kia on speaker phone. During the call, Matt and

Daniel, employees of McGrath Kia, said that the dealership would accept a cashier’s check as

payment for a vehicle purchase. They communicated how much the check should be made out

for and said that Graves would not need to accompany Plaintiff to the dealership for the

purchase. Plaintiff was subsequently issued a cashier’s check and drove to the dealership without

Graves.

       At the dealership, Plaintiff met Matt and Daniel and affirmed their earlier conversation.

However, Plaintiff noticed a sense of unwelcomeness from Matt and Daniel and other employees

of McGrath Kia, who were predominantly white. After test driving one of the cars, Plaintiff was

ready to purchase it. She gave Matt and Daniel the check she had been issued earlier that day,

and Matt and Daniel took the check with them to the back of the dealership. Plaintiff presumes

that at this point Matt and Daniel were calling Fifth Third Bank to validate the legitimacy of the

check. Plaintiff further alleges, “on information and belief,” that during the call with the bank,

Matt and Daniel “referenced Plaintiff’s race as African-American, did not contact the branch

where the Check was drawn … and did not reference the earlier conversation” they had with

Fifth Third Bank employees. Doc. 1 at 5.




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        Plaintiff believes that in response, Fifth Third Bank falsely communicated to Matt and

Daniel that the check was fraudulent and that they should call the police to arrest Plaintiff.

Plaintiff alleges that this instruction was a deviation from Fifth Third Bank’s policy and practice

of contacting the bank branch where a cashier’s check was drawn when the validity of a cashier’s

check is in question, and Fifth Third Bank deviated from this policy and practice solely because

of Plaintiff’s race.

        Daniel called the police, although Plaintiff alleges that the dealership’s policy and

practice is to return checks to customers and decline the sale if fraud is suspected. Plaintiff

alleges that McGrath Kia deviated from this practice solely because of Plaintiff’s race. During

the call, Daniel told the police dispatcher that an African American woman was at the dealership

attempting to buy a car with a fraudulent check and McGrath Kia wanted her arrested.

        Shortly thereafter, two police officers, Officer Bekov and Officer Hansen, arrived at the

dealership. They told Plaintiff that they were there to investigate her check, and she responded

that the check was not fraudulent and attempted to tell them about her visit to the bank with

Graves. Plaintiff specified that the check was issued from Graves’ account, not hers. She also

specified that she, representatives from the bank, and Matt and Daniel had reached an agreement

regarding payment earlier that day. During this conversation, Plaintiff called Graves and pleaded

with the officers to speak with him, but the officers declined.

        Officer Bekov then asked Plaintiff if she was from the area where the Fifth Third Bank

branch was located (a predominantly African American neighborhood). She said yes, and Bekov

responded in a condescending tone, stating “Oh you’re from Gresham, ok… .” Id. at 7. Plaintiff

corrected him that she is from the Englewood area, and Officer Bekov indicated that he was

familiar with that area too.



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       Officer Bekov then stepped outside to call the Fifth Third Bank branch Plaintiff had

visited earlier that day. During the call, Officer Bekov spoke to a representative named Carroll

(not one of the employees Plaintiff had worked with earlier that day) and asked whether an

account holder by the name of Sade Crockett had come in earlier to purchase a cashier’s check,

as he was currently investigating a check-fraud call at the McGrath Kia dealership. Carroll said

that the check was probably not fraudulent, to which Officer Bekov replied “It could be, right.”

Id. at 8. He then communicated that McGrath Kia had told the officers that Fifth Third Bank had

earlier told McGrath Kia that the check was fraudulent. The representative responded that if

McGrath Kia told them that the check was fraudulent, then the check was likely fraudulent

because the bank did not have a customer named Sade Crockett, the bank’s systems were down

so Carroll could not validate the check, no large cashier’s checks had been issued that day, and

“they” (meaning people from neighborhoods like Plaintiff’s neighborhood) are probably using

Plaintiff as a “tool” to purchase a vehicle with a fraudulent check. Id. Officer Bekov thanked

Carroll for her time then expressed his agreement with her comments about “people from those

neighborhoods.” Id.

       Back in the dealership, Officer Bekov summarized his conversation with Carroll to

Officer Hansen and stated that he believed Plaintiff’s check was fraudulent and that Fifth Third

confirmed that Plaintiff’s check was fraudulent. Officer Hansen asked Officer Bekov which

name he had provided to Fifth Third Bank. Instead of answering Officer Hansen’s question,

Officer Bekov restated to Officer Hansen that Fifth Third Bank confirmed that Plaintiff’s check

was fraudulent.

       Plaintiff was subsequently arrested and placed into custody in front of a large crowd.

Plaintiff was detained overnight at the Highland Park police station and charged with felony



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forgery. During the criminal proceedings against her, Plaintiff suffered emotionally. Several

online media outlets reported Plaintiff’s arrest. The case was continued without dismissal several

times until in July 2023 when all charges against her were dismissed.

       On October 13, 2023, Plaintiff commenced this action. Her complaint includes numerous

counts and claims per count. In Count I, Plaintiff brings against all Defendants claims under 42

U.S.C. §1983, alleging unreasonable search and seizure, false imprisonment, false arrest,

malicious prosecution and violations of her 14th Amendment rights. In Count II, Plaintiff brings

claims against Defendants under 42 U.S.C. §1981, alleging that Defendants acted to deprive

Plaintiff of her right to make and enforce contracts, her right to the full and equal benefit of all

laws, and her right to be free from various Fourth Amendment violations. In Count III, Plaintiff

brings claims against Defendants under 42 U.S.C. §1985, alleging a racially-motivated

conspiracy for the purposes of depriving Plaintiff of equal protection of the laws and her Fourth

Amendment rights. Finally, in Count IV Plaintiff brings numerous state law claims against

Defendants, including false imprisonment, false arrest, and malicious prosecution (Count IV(A)),

willful and wanton conduct (Count IV(C)), and intentional infliction of emotional distress (Count

IV(D)). Count IV also alleges against McGrath Kia and Fifth Third Bank common law

negligence (Count IV(B)), negligent infliction of emotional distress (Count IV(E)), and

violations of the Illinois Hate Crime Act (Count IV(F)).

                                            ANALYSIS

       A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint, not

its merits. Fed. R. Civ. P. 12(b)(6); Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). To survive a Rule 12(b)(6) motion, the complaint must assert a facially plausible claim

and provide fair notice to the defendant of the claim’s basis. Ashcroft v. Iqbal, 556 U.S. 662, 678



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(2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A claim is facially plausible

“when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

A. Claims Against Officer Hansen

         Officer Hansen challenges the sufficiency of Plaintiff’s Section 1983 claim by asserting

that he had probable cause to arrest her. “A warrantless arrest of an individual in a public place

for a felony… is consistent with the Fourth Amendment if the arrest is supported by probable

cause.” Maryland v. Pringle, 540 U.S. 366, 370 (2003). “This is so even where the defendant

officers allegedly acted upon a malicious motive” such as racial animus. Mustafa v. City of

Chicago, 442 F.3d 544, 547 (7th Cir. 2006). Thus, if Officer Hansen had probable cause to arrest

Plaintiff at the dealership for felony forgery, then he cannot be found liable under Section 1983

for unreasonable search and seizure, false imprisonment, false arrest, or malicious prosecution.

See id. (“Probable cause to arrest is an absolute defense to any claim under Section 1983 against

police officers for wrongful arrest, false imprisonment, or malicious prosecution.”). 1

         Police officers have probable cause to arrest an individual when “the facts and

circumstances within their knowledge and of which they have reasonably trustworthy

information are sufficient to warrant a prudent person in believing that the suspect had

committed” an offense. Kelley v. Myler, 149 F.3d 641, 646 (7th Cir. 1998) (alterations adopted).

It is based not on the facts “as an omniscient observer would perceive them but on the facts as

they would have appeared to a reasonable person in the position of the arresting officer.” Id.




1
 Contrary to Plaintiff’s suggestion, courts routinely dismiss claims where the complaint itself establishes probable
cause. E.g., Squires-Cannon v. White, 864 F.3d 515, 518 (7th Cir. 2017) (affirming dismissal because probable
cause existed).

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       The Court finds that even when accepting all allegations in Plaintiff’s complaint as true

and drawing reasonable inferences in Plaintiff’s favor, Officer Hansen had probable cause to

arrest Plaintiff at the time of her arrest. The Seventh Circuit has repeatedly reaffirmed that when

police officers obtain information from an eyewitness establishing the elements of a crime,

probable cause almost always exists absent evidence that the information or the person providing

it is not credible. See Pasiewicz v. Lake Cnty. Forest Pres. Dist., 270 F.3d 520, 524 (7th Cir.

2001). Here, the crime Plaintiff was suspected of having committed was felony forgery, which

involves the use of a false writing or instrument, capable of defrauding, and an intent to defraud.

People v. Brown, 72 N.E.2d 859, 862 (Ill. 1947). Officer Hansen was informed by both McGrath

Kia and Officer Bekov that Plaintiff was attempting to make a purchase with a fraudulent check.

Both also told Officer Hansen that Fifth Third Bank had confirmed that the check was

fraudulent. Based on this information, Officer Hansen had probable cause to arrest Plaintiff.

       Plaintiff argues that Officer Bekov and the McGrath Kia employees were obviously

incredible. While the complaint does allege that Officer Bekov was condescending about

Plaintiff’s neighborhood, the Court does not believe that this makes it unreasonable for Officer

Hansen to believe Officer Bekov’s statement that Fifth Third Bank had told him the check was

fraudulent. And as for the McGrath Kia employees, Plaintiff points to no evidence of which

Officer Hansen was aware that would indicate racial bias by the car dealership, other than the

fact that the dealership was in a predominantly white affluent community and that there was only

one African American employee present. These facts, however, do not lead to a reasonable

inference that McGrath Kia employees were incredible. For Officer Hansen’s probable cause

determination, what matters is whether the evidence was so incredible that no reasonable officer

could believe it was truthful. See Moorer v. City of Chicago, 92 F.4th 715, 722 (7th Cir. 2024).



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In making this determination, “the police are under no constitutional obligation to exclude all

suggestions that the witness or victim is not telling the truth.” Beauchamp v. City of Noblesville,

Ind., 320 F.3d 733, 743 (7th Cir. 2003); Moorer, 92 F.4th at 722 (questionable witness

identifications may be enough to provide probable cause to arrest). Here, both McGrath Kia and

Officer Bekov were purportedly relying on the statements of a neutral third party: Fifth Third

Bank. Under these facts, it was not unreasonable for Officer Hansen to believe them. Even

drawing all reasonable inferences in Plaintiff’s favor, the presence of probable cause has not

been called into question by the complaint. 2

        Finally, if probable cause did not exist, probable cause was at least arguable for the same

reasons just explained. An officer is entitled to qualified immunity against claims like those

brought here when “a reasonable officer could have mistakenly believed that probable cause

existed.” Schimandle v. Dekalb Cnty. Sheriff's Off., 114 F.4th 648, 655 (7th Cir. 2024). Officer

Hansen was well within this zone of reasonableness when he arrested Plaintiff. Because probable

cause (or arguable probable cause) existed at the time of the arrest upon which Plaintiff bases her

unreasonable search and seizure, false imprisonment, false arrest, and malicious prosecution

claims, those claims are dismissed as to Officer Hansen.

        The Court next addresses Plaintiff’s Section 1983 equal protection and Section 1981

claims. “The Equal Protection Clause of the Fourteenth Amendment prohibits state action that

discriminates on the basis of membership in a protected class.’” Reget v. City of La Crosse, 595



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            That Officer Hansen followed up with Officer Bekov to inquire as to whether the latter asked the bank
about the right account does not defeat Officer Hansen’s probable cause—Officer Bekov replied that Fifth Third
Bank confirmed that Plaintiff’s check was fraudulent. To a reasonably prudent officer standing in Officer Hansen’s
shoes, this statement could have been understood to mean that Officer Bekov had done whatever due diligence was
necessary to confirm that the check was fraudulent, or at least, that Fifth Third Bank thought it so. Moreover, so
long as the individual making the accusation is “reasonably credible” then “there is no constitutional duty to
investigate further.” Pasiewicz, 270 F.3d at 524.


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F.3d 691, 695 (7th Cir. 2010). “To state a claim for race-based discrimination, [plaintiff] needs to

assert that the police discriminated against her because of her race.” Kim v. Ritter, 493 F. App'x

787, 789 (7th Cir. 2012). Plaintiff nowhere alleges that Officer Hansen discriminated against her

because of her race, other than the conclusory assertion that the actions of the “Defendant

Officers in falsely accusing the Plaintiff of check fraud and intentionally, negligently and/or

recklessly failing to verify the legitimacy of Plaintiff’s Check resulted in … intentional

discrimination against Plaintiff in violation of Plaintiff’s Fourteenth Amendment rights.” Doc. 1

at 16. This conclusory assertion does not suffice and is not supported by the facts pled in the

complaint with respect to Officer Hansen, who is nowhere alleged to have discriminated against

Plaintiff because of her race but rather seems (based upon the facts alleged in the complaint) to

have arrested her because of the allegations of others that Plaintiff had violated the law. See, e.g.,

Kim v. Ritter, 493 F. App'x 787, 789 (7th Cir. 2012) (affirming dismissal of equal protection

claim where plaintiff did not plead that officer’s knowledge of her national origin affected

officers’ behavior towards her and where officer separately had probable cause for arrest);

Ashcroft v. Iqbal, 556 U.S. 662, 682-83 (2009) (finding complaint did not state a plausible claim

for invidious discrimination where there was an obvious alternative explanation to

discriminatory intent). Thus, the Court finds that Plaintiff has not adequately plead that Officer

Hansen acted with racially discriminatory intent. Because of that inadequacy, Plaintiff’s Section

1981 and Section 1983(5) claims against Officer Hansen are dismissed. See Pourghoraishi v.

Flying J, Inc., 449 F.3d 751, 759 (7th Cir. 2006), as amended on denial of reh'g (May 25, 2006)

(noting that “in order to establish a § 1981 claim of racial discrimination in a retail transaction”

plaintiff must demonstrate that the defendant “had an intent to discriminate on the basis of

race”); Milchtein v. Milwaukee Cnty., 42 F.4th 814, 827 (7th Cir. 2022) (requiring that plaintiff



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plead not only a conspiracy but that the conspiracy was motivated by racial or otherwise class-

based discriminatory animus).

         For the above reasons, Counts I, II, III, and IV(A) are dismissed as to Officer Hansen.

         B. Claims Against Fifth Third Bank and McGrath Kia

         Fifth Third Bank and McGrath Kia are charged in Count I with violations of Section

1983. Section 1983 provides a right of action for constitutional deprivations that occur “under

color of” state law. Alarm Detection Sys., Inc. v. Vill. of Schaumburg, 930 F.3d 812, 825 (7th

Cir. 2019). Thus, private actors like Fifth Third Bank and McGrath Kia cannot usually be sued

under Section 1983 unless the “private actor conspires with a state actor to deprive someone's

constitutional rights.” Id. Tacitly acknowledging that her claims survive only if this exception

applies, Plaintiff argues that the conspiracy requirement is sufficiently pled here. To adequately

plead Section 1983 liability via a conspiracy, Plaintiff must have pled that “(1) a state official

and private individual(s) reached an understanding to deprive [her of her] constitutional rights,

and (2) those individual(s) were willful participants in joint activity with the State or its agents.”

Fries v. Helsper, 146 F.3d 452, 457 (7th Cir. 1998) (cleaned up). The “mere act of filing false

police reports is not actionable under § 1983.” Spiegel v. McClintic, 916 F.3d 611, 617 (7th Cir.

2019).

         Plaintiff pleads that McGrath Kia employees falsely reported to the police that she was

attempting to use a fraudulent check to buy a car. This allegation is not enough to suggest that an

agreement existed between the police and McGrath Kia. See id. Rather, based upon the

allegations in the complaint, McGrath Kia “acted independently from the government” in

making its reports. Id. (underscoring Seventh Circuit’s consistent holdings that furnishing

information to law enforcement officers does not constitute joint activity even in an



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unconstitutional arrest case). The independence of the arresting officers and McGrath Kia is

underscored by the fact that when the officers arrived, Officer Bekov decided to double-check

McGrath Kia’s report by calling Fifth Third Bank himself. Thus, Plaintiff has failed to allege a

conspiracy (or other joint action) between the police and McGrath Kia, and Count I is dismissed

as to McGrath Kia.

         As for Fifth Third Bank, a bit more nuance is required. The key allegations center around

Officer Bekov’s conversation with Fifth Third Bank representative Carroll. 3 During that

conversation, Plaintiff alleges that Officer Bekov and Carroll agreed that even though they could

not presently verify the legitimacy of Plaintiff’s check, someone from her neighborhood was

likely to be a part of a fraudulent car-purchasing scheme. However, during that same

conversation, Officer Bekov also stated that Fifth Third Bank had earlier told McGrath Kia that

Plaintiff’s check was fraudulent, and Carroll responded that if McGrath Kia told Officer Bekov

the check was fraudulent, then it was likely fraudulent. She also stated that the bank did not have

a customer named Sade Crockett, and that no large cashier’s checks had been issued by the bank

that day. These allegations, though plausibly suggesting racial animus by Carroll and Officer

Bekov, do not establish that Carroll (on behalf of Fifth Third Bank) agreed with Officer Bekov

that Plaintiff should wrongfully be searched, seized, arrested, imprisoned, or prosecuted. No

allegation suggests that Carroll knew the check was not fraudulent, or more broadly establishes

the willfulness required for Fifth Third Bank to be held liable. Compare Spiegel, 916 F.3d at 617

(finding conspiracy not plausibly pled where plaintiff “never alleges that the officers were aware



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  The earlier conversation between the McGrath Kia employees and Fifth Third Bank cannot form the basis for a
state-conspiracy allegation because the facts as alleged cannot reasonably be interpreted to involve any sort of
meeting of the minds or any agreement to violate Plaintiff’s constitutional rights between Fifth Third Bank and the
state when the state was not a party to that conversation. And as discussed above, that Fifth Third Bank’s fraud
accusation was ultimately relayed to the police by McGrath Kia is also not enough because false reports do not a
conspiracy allege. Spiegel, 916 F.3d at 617.

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that the reports were false”), with Brokaw v. Mercer Cnty., 235 F.3d 1000, 1016 (7th Cir. 2000)

(finding conspiracy sufficiently pled where allegations established that officer and private parties

agreed to fabricate concerns about the welfare of the plaintiff’s sister in order to have her

removed from the parent’s home, bringing about false child neglect charges); see also Wilson v.

Warren Cnty., Illinois, 830 F.3d 464, 469 (7th Cir. 2016) (at summary judgment, elaborating on

mental state requirements and finding them not met because state actor and private party did not

share an unconstitutional goal). Nor do the facts pled allege that Carroll affirmatively asked for

the police to arrest Plaintiff, only that Carroll agreed fraud was likely based on the information

she had at the time. Compare Burns v. Odeon, No. 95 C 5280, 1996 WL 501742, at *9 (N.D. Ill.

Sept. 3, 1996) (under Section 1985(3), finding conspiracy sufficiently pled where private actor

called police and stated “I want him [plaintiff] arrested … taken outta here … uh, several

different charges … for just several different reasons”), with Kelley v. Myler, 149 F.3d 641, 649

(7th Cir. 1998) (finding no conspiracy where private party merely “described the situation to the

officers”). Indeed, it was Officer Bekov who reached out to Fifth Third Bank, not the other way

around. These allegations alone are not enough to suggest joint action or a conspiracy to deprive

Plaintiff of her constitutional rights. See Spiegel, 916 F.3d at 616 (suggesting that alleging “aid to

or encouragement of state action” is not enough for a conspiracy claim). For this reason, Count I

is also dismissed as to Fifth Third Bank.

       Because Plaintiff has failed to plead that a conspiracy existed between McGrath Kia and

the police, or between Fifth Third Bank and the police, the remainder of Plaintiff’s claims

requiring conspiracy allegations only survive if she has sufficiently pled that a conspiracy existed

between McGrath Kia and Fifth Third Bank. But this purely private conspiracy, even if

sufficiently pled, would present other problems Plaintiff cannot overcome.



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        “To be actionable under § 1985(3), a purely private conspiracy … must interfere with the

Thirteenth Amendment right to be free from involuntary servitude” or the Thirteenth

Amendment right to interstate travel. Petrovic v. Enter. Leasing Co. of Chicago, LLC, 513 F.

App'x 609, 611 (7th Cir. 2013). Plaintiff alleges nothing about the Thirteenth Amendment and

her response briefs do not address how her complaint satisfies this requirement. Instead, Plaintiff

suggests that the conspiracy was not purely private because there was some state action

associated with the alleged conspiracy and therefore the requirement does not apply. But the

Court has already found that Plaintiff failed to allege police participation in any conspiracy.

Moreover, nothing in Plaintiff’s complaint can be read to establish a conspiracy between

McGrath Kia and Fifth Third Bank. None of the parties appeared to have known each other and

had no relationship beyond the two phone calls McGrath Kia had with two different groups of

people at Fifth Third Bank on one day. It is not a reasonable inference from these facts that an

agreement was formed between these entities for the purpose of violating Plaintiff’s

constitutional rights. As such, Plaintiff’s Section 1985(3) claims against Fifth Third Bank and

McGrath Kia, contained in Count III, are also dismissed.

       The final federal claims raised against McGrath Kia and Fifth Third bank are Plaintiff’s

Section 1981 claims. “To establish a claim under § 1981, … plaintiffs must show that (1) they

are members of a racial minority; (2) the defendant had an intent to discriminate on the basis of

race; and (3) the discrimination concerned one or more of the activities enumerated in the statute

(i.e., the making and enforcing of a contract).” Morris v. Off. Max, Inc., 89 F.3d 411, 413 (7th

Cir. 1996). Fifth Third Bank and McGrath Kia both argue that Plaintiff has not adequately pled

the third element, intent to discriminate. The Court disagrees.




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       First, two notes on the pleading requirements. One: The fact that many of Plaintiff’s

claims are based on “information and belief” is not a bar to finding that Plaintiff has set forth her

claims with sufficient factual specificity. The Seventh Circuit, along with many others, has

instructed that claims may be pled on information and belief so long as the plaintiff has done

some reasonable pre-complaint inquiry but the information is simply outside of her control. See

generally, Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436,

444 (7th Cir. 2011) (discussing pleading requirements in the context of the heightened pleading

standards applicable to fraud allegations and still concluding that allegations on information and

belief sometimes suffice); see also Ahern Rentals, Inc. v. EquipmentShare.com, Inc., 59 F.4th

948, 954 (8th Cir. 2023) (collecting cases). The factual allegations Plaintiff pleads on

information and belief are peculiarly within the control of Defendants, and so the Court does not

take issue with her form of pleading. E.g., Doc. 1 at 5 (pleading on “information and belief” what

might have occurred during the conversation between McGrath Kia and Fifth Third Bank). Two:

The bar for pleading race discrimination is relatively low; the complaint need only do enough to

state a plausible claim that puts defendant on sufficient notice to enable it to begin an

investigation and prepare a defense, which often means including facts establishing the type of

discrimination, by whom, and when. See Swanson v. Citibank, N.A., 614 F.3d 400, 405 (7th Cir.

2010). Now, for the legal sufficiency of Plaintiff’s allegations.

       As to McGrath Kia, Plaintiff alleges that its employees, Matt and Daniel, knew that

Plaintiff would be coming to McGrath Kia with a cashier’s check from a relative that the bank

had issued for Plaintiff to use to purchase a car. Matt and Daniel told Plaintiff that they would

accept the check and that her relative did not need to accompany her to the dealership. Yet when

Plaintiff arrived, they were unwelcoming to her and questioned the legitimacy of the check.



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Though it went against McGrath Kia’s policy and practice to call the police and pursue an arrest

when presented with a possibly fraudulent check, that is exactly what Matt and Daniel did. Based

upon the allegations in the complaint, one key circumstance that changed between when Matt

and Daniel agreed on the phone to accept Plaintiff’s cashier’s check and when she presented it to

them in person is that they saw Plaintiff. Based upon these facts, the Court believes that Plaintiff

has adequately pled racial discrimination with respect to the making of a contract. Kaminski v.

Elite Staffing, Inc., 23 F.4th 774, 777 (7th Cir. 2022) (“To survive … a motion to dismiss, a

plaintiff need only allege enough facts to allow for a plausible inference that the adverse action

suffered was connected to her protected characteristics.”). Having included sufficient factual

allegations to put McGrath Kia on notice of the basis of her claim and having included some

facts suggesting that racial discrimination is plausible, dismissal is denied as to Plaintiff’s

Section 1981 claim against McGrath Kia.

       Essentially the same applies to Plaintiff’s claim against Fifth Third Bank. Plaintiff alleges

that when McGrath Kia called Fifth Third Bank, the bank deviated from its policy and practice

of verifying the legitimacy of a check with the branch from which the check was drawn because

of Plaintiff’s race. Plaintiff further alleges that when Officer Bekov called Fifth Third Bank, the

manager made comments suggesting that people from Plaintiff’s neighborhood are likely to be

involved in check fraud. Plaintiff alleges that her neighborhood is predominantly African

American, a fact likely to be known among Chicago-area residents and workers. And Plaintiff

alleges that Fifth Third Bank might have falsely reported to McGrath Kia that her check was

fraudulent when it was not. These allegations amount to a plausible claim of discriminatory

intent, distinguishing the pleadings here from those in Fifth Third Bank’s out-of-circuit case cites

where there were no facts suggesting that race had anything to do with the defendants’ decisions.



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E.g., Mekuria v. Bank of Am., 883 F. Supp. 2d 10, 15 (D.D.C. 2011) (“[Plaintiff] has not, for

example, alleged that any of the tellers at the Bank made any negative comments to him or

treated him in a hostile or inappropriate manner.”). For these reasons, Plaintiff’s Section 1981

claim against Fifth Third Bank similarly survives dismissal.

C. Remaining State Law Claims

       i.      Common Law Negligence

       Plaintiff claims that Fifth Third Bank and McGrath Kia are liable for Illinois common

law negligence. “To recover damages based upon negligence, a plaintiff must prove that the

defendant owed a duty to the plaintiff, that the defendant breached that duty, and that the breach

was the proximate cause of the plaintiff's injury.” Doe v. Coe, 135 N.E.3d 1, 12 (Ill. 2019).

       Plaintiff’s complaint alleges that Fifth Third Bank committed negligence by falsely

telling McGrath Kia that Plaintiff’s cashier’s check was fraudulent without adequate

investigation or due diligence (for example, by contacting the appropriate branch location) and

by telling McGrath Kia to call the police. Fifth Third Bank replies that it never owed a duty to

Plaintiff, a non-customer of the bank, and so her negligence claim fails as a matter of law.

       Illinois courts “have long recognized that every person owes a duty of ordinary care to all

others to guard against injuries which naturally flow as a reasonably probable and foreseeable

consequence of an act, and such a duty does not depend upon contract, privity of interest or

proximity of relationship.” Id. at 13 (cleaned up). The Illinois case law establishing that non-

customers are not owed a duty of care is with respect to the duty to exercise “ordinary care in

disbursing the depositor’s funds.” Radwill v. Romeo, 2013 IL App (1st) 110912-U, ¶ 29. Here

though, Plaintiff alleges a different duty: exercising ordinary care before asserting the




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fraudulence of a check. Thus, Plaintiff argues that the fact that Plaintiff was not a customer of the

bank does not mean the bank owed her nothing.

       “The four factors courts typically consider in determining whether a duty exists are: (1)

the reasonable foreseeability of injury; (2) the likelihood of injury; (3) the magnitude of the

burden of guarding against injury; and (4) the consequences of placing that burden on the

defendant.” Wilfong v. L.J. Dodd Const., 930 N.E.2d 511, 519 (Ill. App. Ct. 2010). Considering

these factors, the Court determines that under the circumstances alleged here, Plaintiff may be

able to develop facts that would show that Fifth Third Bank owed her a duty to do more than it

did, especially if Fifth Third Bank actually told McGrath Kia to call the police and have Plaintiff

arrested.

       Fifth Third Bank also argues that even if there was a duty, it did not breach it. But Fifth

Third Bank ignores the allegations in the complaint that when McGrath Kia called the bank to

verify the check, Fifth Third Bank communicated to McGrath Kia that the check was fraudulent.

Accepting these allegations as true, Plaintiff sufficiently pled that Fifth Third Bank breached a

duty of ordinary care.

       As for McGrath Kia, the Court is not persuaded by its argument that Plaintiff’s

negligence claim should be summarily dismissed as an attempt to impermissibly advance a

malicious prosecution claim. Plaintiff is entitled to plead overlapping theories of liability. What

McGrath Kia did not do in its opening motion is argue that Plaintiff’s negligence claim cannot

satisfy the elements for common law negligence. Its belated attempt to call into question the duty

element of negligence fares no better, as arguments “may not be raised for the first time in a

reply brief.” United States v. Diaz, 533 F.3d 574, 577 (7th Cir. 2008). The negligence claim

therefore may proceed against McGrath Kia.



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        ii.     Negligent Infliction of Emotional Distress

        Next, Plaintiff claims that Fifth Third Bank and McGrath Kia are liable for negligent

infliction of emotional distress. “Generally, to state a claim for negligent infliction of emotional

distress, a plaintiff must allege the traditional elements of negligence.” Benton v. Little League

Baseball, Inc., 181 N.E.3d 902, 931 (Ill. App. Ct. 2020). For these claims, Illinois courts separate

“bystanders” from “direct victims.” Id. Under the “impact rule,” a direct victim can recover only

“if [she] suffered emotional distress and a contemporaneous physical injury or impact, requiring

actual physical contact of some sort.” Id. A bystander, on the other hand, must be within the zone

of physical danger, such that they have a reasonable fear for their own safety and can recover for

injury or illness that results from their emotional distress. Id. at 932.

        Plaintiff appears to conflate the requirements applicable to direct victims and bystanders,

arguing that physical manifestations of emotional distress are not required to state a claim. She is

correct that physical manifestations need not be pled, but physical manifestations are different

from contemporaneous physical injuries, and the latter requirement applies here. See Benton, 181

N.E.3d at 932. The Court is not able to discern any well-pled contemporaneous physical injury

alleged in Plaintiff’s complaint (nor can it reasonably infer any) caused by McGrath Kia’s or

Fifth Third Bank’s negligent acts, and therefore her negligent infliction of emotional distress

claim in Count IV(E) is dismissed against both Defendants.

        iii.    Willful and Wanton Conduct (Aggravated Negligence)

        The Court interprets Plaintiff’s claims for willful and wanton conduct, consistent with the

practice of Illinois courts, as an aggravated form of negligence. E.g., Papadakis v. Fitness 19 IL

116, LLC, 148 N.E.3d 648, 653–54 (Ill. App. Ct. 2018). To state this type of claim Plaintiff must

plead the elements of negligence plus some heightened state of mind. Id. “How, precisely, to


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define that heightened state of mind has proven elusive.” Id. In “the appropriate case, the same

facts that are alleged to constitute negligent conduct could be sufficient to allege willful and

wanton conduct.” Id. As to Fifth Third Bank and McGrath Kia, the Court has already found that

Plaintiff pled sufficient facts to keep her negligence claims alive, and the Court is not persuaded

by Fifth Third Bank or McGrath Kia’s arguments that Plaintiff’s aggravated negligence claims

are so implausibly pled as to warrant the opposite result.

       As to Officer Hansen, however, the complaint is devoid of factual allegations from which

the Court can reasonably infer liability for aggravated negligence. Assuming the proposed duty

“to conduct a proper and diligent investigation into the legitimacy of Plaintiff’s Check” (Doc. 1

at 24) existed, Officer Hansen exercised ordinary care by arresting Plaintiff after two separate

reports that the check was fraudulent, both (to Officer Hansen’s knowledge) based on

information from the bank that would have issued it. Though Plaintiff also argues other types of

breach, those arguments are not supported by the factual allegations in her complaint. For

example, the complaint states that the arresting officers “failed to update information and correct

misleading information” and “failed to withdraw baseless charges” but nowhere states (as far as

the Court can discern from Plaintiff’s 166-paragraph complaint) that Officer Hansen ever learned

Plaintiff’s check was valid during the pendency of the criminal proceedings against her. The

Court cannot infer that Officer Hansen had or breached a duty to disclose or act upon

information he did not have. For these reasons, Count IV(C), asserting aggravated negligence, is

dismissed as to Officer Hansen.

       iv.     Intentional Infliction of Emotional Distress

       To make out a claim for intentional infliction of emotional distress (“IIED”), three

elements must be satisfied.


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               First, the conduct involved must be truly extreme and outrageous.
               Second, the actor must either intend that his conduct inflict severe
               emotional distress, or know that there is at least a high probability
               that his conduct will cause severe emotional distress. Third, the
               conduct must in fact cause severe emotional distress.

Feltmeier v. Feltmeier, 798 N.E.2d 75, 80 (Ill. 2003) (quoting Pub. Fin. Corp. v. Davis, 360

N.E.2d 765, 767 (Ill. 1976)).

       At the outset, the Court dismisses Plaintiff’s IIED claim (Count IV(D)) against Officer

Hansen for the same reasons discussed above with respect to aggravated negligence and for

related reasons discussed with respect to probable cause. Plaintiff simply does not establish

Officer Hansen’s state of mind (as opposed to the effects on Plaintiff’s mental state) in such a

way as might suggest his liability under the standard just articulated.

       As for Fifth Third Bank and McGrath Kia: A false police report is generally not

actionable as IIED. See, e.g., Schiller v. Mitchell, 828 N.E.2d 323, 335–36 (Ill. App. Ct. 2005)

(collecting cases); Adams v. Sussman & Hertzberg, Ltd., 684 N.E.2d 935, 942 (Ill. App. Ct.

1997). Relatedly, a number of Illinois courts have dismissed claims of IIED based upon

defamation “on the ground that the conduct was not extreme and outrageous.” Cook v. Winfrey,

141 F.3d 322, 331 (7th Cir. 1998) (cleaned up). There are, however, certain circumstances in

which the making of a false report can constitute intentional infliction of emotional distress.

Those circumstances almost always include allegations that the false report was made with

knowledge that the accusation or information provided to authorities was not true. Compare, e.g.,

B.F.G. v. Blackmon, No. 08 CV 1565, 2008 WL 4155263, at *5 (N.D. Ill. Sept. 8, 2008)

(plaintiff plausibly pled IIED claim where attorney representing department of children and

family services pursued charges for sexual misconduct despite no credible evidence, hid physical

evidence, lied to the court, and presented false testimony), with, e.g., Costa v. Ramaiah, 689 F.



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Supp. 3d 553, 593 (N.D. Ill. 2023) (holding that mistaken or misguided false accusation did not

give rise to plausible claim in the absence of facts supporting the inference that defendants knew

allegation was false).

       Moreover, certain aggravating circumstances must also be present. For example, IIED

has been found where the accusation itself is one regarded as particularly shameful in our society

or prone to bring about particularly devastating consequences for that specific plaintiff. See

Costa, 689 F. Supp. 3d at 592 (collecting cases involving false sexual abuse and child abuse

accusations, and cases involving losses of child custody as a direct result of false accusations);

see also, e.g., Brown v. Kouretsos, No. 15 CV 11076, 2016 WL 3269000, at *5 (N.D. Ill. June

15, 2016) (acknowledging that false accusations of smoking marijuana on school property are

generally not actionable but finding that teacher-plaintiff stated IIED claim where she alleged

principal publicly accused her of smoking in a school bathroom feet away from children such

that she might forever lose the trust of her community, imperiling her livelihood). In addition, a

false report might be outrageous if it was one part of a broader “campaign” to bring about

devastating legal consequences for the plaintiff. E.g., Andersen v. Vill. of Glenview, No. 17 CV

05761, 2018 WL 6192171, at *21 (N.D. Ill. Nov. 28, 2018), aff'd, 821 F. App'x 625 (7th Cir.

2020) (denying a motion to dismiss an IIED claim where plaintiff alleged that the defendant

“engaged in a campaign to have her falsely arrested and prosecuted so that she would lose

custody over her children”); B.F.G., No. CIV. A. 08 C 1565, 2008 WL 4155263, at *5 (attorney

persisted in providing false evidence from initial report through court proceedings). These cases

are consistent with the general standard that under Illinois law, “liability for intentional infliction

of emotional distress has been found only where the conduct has been so outrageous in character,




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and so extreme in degree, as to go beyond all possible bounds of human decency.” Cook, 141

F.3d at 331 (cleaned up).

       Whether Plaintiff’s allegations might plausibly be read to suggest that McGrath Kia knew

it was making a false report is difficult to discern. On the one hand, McGrath Kia spoke to Fifth

Third Bank earlier that day and knew that Plaintiff planned to come in with a cashier’s check like

the cashier’s check she arrived with. But rather than go directly to the police with its false

accusation, McGrath Kia first called Fifth Third Bank to verify the legitimacy of the check, an

odd decision for a party set on knowingly lodging a false accusation. Moreover, by the time

McGrath Kia called the police, the complaint alleges that Fifth Third Bank had told McGrath Kia

that the check was a forgery.

       Even if these allegations plausibly suggest McGrath Kia’s knowledge that it was making

a false report, they do not plausibly state a claim for IIED because the circumstances taken as a

whole do not make McGrath Kia’s conduct beyond all possible bounds of human decency. None

of the aggravating circumstances discussed above are present. The conduct McGrath Kia is

alleged to have engaged in is making a single phone call to the police, not engaging in a

campaign of persistent conduct designed to get Plaintiff arrested and prosecuted. See Feltmeier,

798 N.E.2d at 83 (acknowledging that a pattern or course of conduct may be actionable where

one instance of extreme behavior may not be). Moreover, false accusations of felony forgery are

substantially less egregious than false accusations of child sexual abuse or drug use by a teacher

near students. See Costa, 689 F. Supp. 3d at 592; Brown, No. 15 C 11076, 2016 WL 3269000, at

*5; see also Day v. Buckham, No. 3:21-CV-50022, 2021 WL 5050288, at *4 (N.D. Ill. Nov. 1,

2021) (noting in case involving false accusations of child sexual abuse that a “parent's

relationship with their child is sacred, and accusations like the one at issue here do irreparable



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harm”). McGrath Kia also did not wield any special authority over Plaintiff, nor were the

accusations themselves made in a particularly public way. See McGrath v. Fahey, 533 N.E.2d

806, 809 (Ill. 1988) (explaining that a defendant’s position of power or authority over plaintiff

makes conduct more likely to be outrageous); cf., e.g., Brown, No. 15 C 11076, 2016 WL

3269000, at *5 (accusations made by teacher’s principal in the presence of plaintiff’s

colleagues). Thus, even drawing all reasonable inferences in Plaintiff’s favor, Plaintiff has not

stated a claim for IIED against McGrath Kia because she has not plausibly alleged extreme and

outrageous conduct.4 Thus, Count IV(D) is dismissed as to McGrath Kia.

        The Court concludes the same as to Fifth Third Bank. Plaintiff alleges that during Fifth

Third Bank’s conversation with McGrath Kia, McGrath Kia informed Fifth Third Bank that it

suspected an African American woman was attempting to use a fraudulent check. The bank

representative then falsely communicated to Matt and Daniel, without adequate investigation,

that the check was indeed fraudulent, and that McGrath Kia should call the police to have

Plaintiff arrested. During Officer Bekov’s conversation with Fifth Third Bank, Carroll allegedly

made comments about Plaintiff’s neighborhood that could be interpreted as evidencing racial

animus and suggested to Officer Bekov that Plaintiff probably was using a fraudulent check.

However, Plaintiff does not allege facts from which the Court can reasonable infer that Fifth

Third Bank made its accusations with knowledge of their falsity. Given that false police reports

are generally not actionable as IIED, and consistent with the above reasoning, the Court

dismisses Count IV(D) as to Fifth Third Bank.



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  The Court does not believe that the fact that McGrath Kia’s conduct may have been motivated by racial bias moves
the needle enough for Plaintiff to state a claim for IIED. The cases applying Illinois law and involving IIED and
racial animus that this Court has found stick to the bedrock principle that the conduct itself must be sufficiently
abhorrent to be actionable as IIED, notwithstanding the motivation of the defendant. See, e.g., Jones v. Culver
Franchising Sys., Inc., 12 F. Supp. 3d 1079, 1090 (N.D. Ill. 2013) (rejecting argument that racial animus motivating
conduct “by definition” makes that conduct extreme and outrageous).

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       v.      Illinois Hate Crimes Act

       Under the Illinois Hate Crimes Act (“IHCA”) and relevant here, a person commits a hate

crime by committing any one of a specified list of crimes, including disorderly conduct,

motivated by the actual or perceived race of another individual. 720 ILCS 5/12-7.1(a). Moreover,

“any person suffering injury to his or her person, damage to his or her property, … [or]

disorderly conduct … as a result of a hate crime may bring a civil action” under the IHCA. 720

ILCS 5/12-7.1(c). For the purposes of the IHCA, “disorderly conduct” occurs when an individual

“knowingly” transmits a report to a public officer “that an offense will be committed, is being

committed, or has been committed, knowing at the time of the transmission that there is no

reasonable ground” for that belief. 720 ILCS 5/26-1(a)(4).

       Fifth Third Bank’s first argument that Plaintiff’s hate-crime claim against it should be

dismissed is that it cannot be held liable because civil damages are only available when the

plaintiff suffers an injury to her person or property, and Plaintiff makes no meaningful

allegations of a physical injury. The problem with this argument is that although an older version

of the statute may have had this requirement, the statute has since been amended and expanded.

Compare 720 ILCS 5/12-7.1(c) (2011), amended by Hate Crimes, 2017 Ill. Legis. Serv. P.A.

100-197 (H.B. 3711) (providing “any person suffering injury to his person or damage to his

property as a result of hate crime may bring a civil action”), with 720 ILCS 5/12-7.1 (eff. Jan. 1,

2018) (providing “any person suffering injury to his or her person, damage to his or her property,

… [or] disorderly conduct [or a number of other offenses]… as a result of a hate crime may bring

a civil action for damages”). The current version of the statute, therefore, does not limit civil

actions in the way Fifth Third Bank argues.




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       Next, Fifth Third Bank argues that even if the above does not apply, Carroll’s conduct

does not come within the meaning of disorderly conduct as defined by Illinois law. On this point,

the Court agrees. Plaintiff does not allege that Carroll knew her “report” to Officer Bekov (if

even a “report” under Illinois law) was unreasonable. As Plaintiff alleges it, Officer Bekov told

Carroll that the bank had earlier communicated that the check was fraudulent. Particularly

coming from a police officer, that gave Carroll reasonable grounds to suspect an offense had

been committed. Therefore, Plaintiff fails to allege facts from which the Court can infer that

Fifth Third Bank committed a hate crime by disorderly conduct, and the Court dismisses Count

IV(F) as to Fifth Third Bank.

       McGrath Kia, on the other hand, makes no meaningful argument regarding the

substantive law of the IHCA in its defense. Although McGrath Kia has arguably adopted Fifth

Third Bank’s brief, Fifth Third Bank’s arguments rely on facts specific to Fifth Third Bank that

do not apply to McGrath Kia. Though the Court can imagine certain difficulties Plaintiff might

run up against, it will not essentially sua sponte dismiss Plaintiff’s claim against McGrath Kia

without some fair notice of the grounds. See generally Ricketts v. Midwest Nat. Bank, 874 F.2d

1177, 1185 (7th Cir. 1989). Thus, the Court denies dismissal of Count IV(F) as to McGrath Kia.

       vi.     Malicious Prosecution

       To state a claim for malicious prosecution under Illinois law, Plaintiff must allege that:

(1) she “was subjected to judicial proceedings; (2) for which there was no probable cause; (3) the

defendants instituted or continued the proceedings maliciously; (4) the proceedings were

terminated in [her] favor; and (5) there was an injury.” Reed v. City of Chicago, 77 F.3d 1049,

1051 (7th Cir. 1996). Regarding the third element, “some official action is required; a citizen

does not commence a prosecution when he merely gives false information” to the authorities.


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Randall v. Lemke, 726 N.E.2d 183, 185 (Ill. App. Ct. 2000). Only if the false information is

given with knowledge of the falsity and then the authorities commence judicial proceedings

based on that information is a citizen potentially liable. Id.

       Consistent with the Court’s earlier determination that Plaintiff has not pled facts from

which the Court can infer that Fifth Third Bank knew its accusations to be false, the Court

dismisses Plaintiff’s Count IV(A) malicious prosecution claim as to Fifth Third Bank.

       McGrath Kia argues that it cannot be held liable because it too did not knowingly make a

false accusation and because the arresting officers’ own investigation was a superseding cause of

the proceedings against Plaintiff. On this second point, the Court agrees. Even if an informer

knowingly provides false information to the police, “he or she is not liable for ‘commencing’ a

criminal proceeding if the prosecution is based upon separate or independently developed

information.” Szczesniak v. CJC Auto Parts, Inc., 21 N.E.3d 486, 491 (Ill. App. Ct. 2014). Even

where the police would not have investigated plaintiff but for the false report, the independent

gathering of information by the police operates as an intervening cause such that the prosecution

is not the direct result of the false report, and the informer did not commence a criminal

proceeding. Randall, 726 N.E.2d at 186.

       Here, when the police arrived, they did not immediately arrest Plaintiff but undertook

their own investigation. They spoke to her, then Officer Bekov stepped outside to call Fifth Third

Bank himself. After that conversation, he reported to Officer Hansen that Fifth Third Bank

confirmed the fraudulence of Plaintiff’s check. Only then was Plaintiff arrested. These facts do

not plausibly suggest that Plaintiff’s arrest was based on McGrath Kia’s false report as opposed

to the arresting officers’ independent and separate investigation. Cf, e.g., Simon v. Nw. Univ.,

175 F. Supp. 3d 973, 982 (N.D. Ill. 2016) (finding malicious prosecution claim plausibly pled



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where “Plaintiff alleges that the only evidence supporting the prosecution of Plaintiff is what

came from Defendants”). Relying on Fifth Third Bank’s supposed report of the check being

fraudulent makes sense: After all, McGrath Kia was not in a position to know one way or the

other the most significant fact in the investigation – whether the check was valid. Therefore, the

Court dismisses Count IV(A)’s malicious prosecution claim as to McGrath Kia.

        vii.    False Imprisonment and False Arrest

        “To state a claim of false imprisonment, a plaintiff must allege that the defendant caused

or procured a restraint of the plaintiff without reasonable grounds to believe that the plaintiff was

committing an offense.” Randall, 726 N.E.2d at 186. When a “police officer makes a false arrest,

a plaintiff may recover against a private defendant who supplied information to that police

officer.” Id. “However, the private defendant is subject to liability only if he either (1) directed

the officer to arrest the plaintiff; or (2) procured the arrest by giving information that was the

sole basis for the arrest.” Id.

        Though moving to dismiss the false arrest and false imprisonment claims against it,

McGrath Kia does not advance any argument as to why these claims should be dismissed. The

Court declines to dismiss Count IV(A)’s false arrest and false imprisonment claims as to

McGrath Kia.

        Fifth Third Bank offers numerous arguments as to why it cannot be liable for false

imprisonment. Most clearly established in the Court’s view, Plaintiff does not allege that Fifth

Third Bank ever directed the officers to arrest Plaintiff. Doc. 1 ¶ 22 (alleging that Fifth Third

Bank told McGrath Kia employees they should call the police); ¶ 26 (same). Plaintiff provides no

support for her argument that influencing a third party to direct the police to arrest her satisfies

the false imprisonment standard. Thus, the Court dismisses Count IV(A)’s false imprisonment


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claim as to Fifth Third Bank. Fifth Third Bank and Plaintiff appear to agree that the false

imprisonment and false arrest claims are coextensive, Doc. 45 at 17, Doc, 31 at 15, and so the

Court also dismisses Count IV(A)’s false arrest claim against Fifth Third Bank.

                                         CONCLUSION

       For the foregoing reasons, the motions to dismiss are granted in part and denied in part.

Counts I, III, and IV(D) are dismissed as to Officer Hansen, McGrath Kia, and Fifth Third Bank.

Counts II, IV(A), and IV(C) are dismissed as to Officer Hansen. Counts IV(A) and IV(F) are

dismissed as to Fifth Third Bank. Count IV(A) is partially dismissed as to McGrath Kia such that

the malicious prosecution claim against it is dismissed but the false imprisonment and false arrest

claims are not. Count IV(E) is dismissed as to both Defendants. To the extent Plaintiff believes

she can amend the complaint to cure the deficiencies identified in this opinion, she may do so.



Dated: March 21, 2025                                        ______________________
                                                             APRIL M. PERRY
                                                             United States District Judge




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